	

         Case 2:14-cv-00008-TMH-WC Document 1 Filed 01/02/14 Page 1 of 5
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                                    N THE UNITED ST.JTES DISTRICT CT' 	                                    i
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          of all the person.)	                                                      )


          I.	     PREVIOUS LAWSUITS
                  A.    Rave you begun other lawsuits in staxe or federal court dealing with the same or
                        similar facts involved in this action? YES D No

                  B.          Have you begun other lawsuits in state or federal court relating to your
                              imprisonment?	   YES 0	        NO

                  C.          If your answer to A or B is yes, describe each lawsuit in the space below. (If there
                              is more than one lawsuit, describe the additional lawsuits on another piece of paper,
                              using the same outline)

                                      Parties to this previous lawsuit:

                                      Plaintiff (s)




                                      Defendant(s)



                              2.	     Court (if federal court, name the disttict; if state court. tian the county)
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            3.    Docketflmber

            4.     Name of jud ge to whom case, was assigned


             5	    Diositio (for exatnle was the case dismissed? Was it appealed? 1s it still
                   pending?)

             6.    Approximate date of filing 1awsiit

             7.    Approximate date of disposition

II.	    PLACE OF PRESENT CO FThTE1NT I                  ft-u.4- o r	         I	     s-cx
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 rn. iME AND ADDRESS OF DNDI\TIDUAL(S) YOU ALLEGE VIOLATED Y
        CONSTITUTIONAL RIGHTS.

               NAME	                                     ADDRESS

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    STATE BRIEFLY- T} FACTS W}flCH SUPPORT TKIS GROUND. (Stare as best you can the
    time. place and manner and person involved.)

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     Case 2:14-cv-00008-TMH-WC Document 1 Filed 01/02/14 Page 4 of 5
F.

     VI. STATE BRFLY EXACTLY WHAT YOU WANT THE COU.T TO DO FOR YOU,
           MAKE NO LEGAL ARGUMENT. CiTE NO OASES OR STAnJrES.

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